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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK


                                                 )
                                                     Civil Case No.: 1:21-cv-06114-PKC
GIANNIS ANTETOKOUNMPO,                           )
                                                     Hon. P. Kevin Castel
                                                 )
                              Plaintiff,         )
                                                 )   ECF Case
                    -v-                          )   Electronically Filed
                                                 )
DEVERE HATCHETT, EDIKAN                          )          NOTICE OF MOTION FOR
EKANEM, GEOFF STREHLOW, JOE                      )           DEFAULT JUDGEMENT
PAGE, AND CHARLES ASCENCIO,                      )
                                                 )
                            Defendants.


       PLEASE TAKE NOTICE that, upon the annexed declaration of Anastasi Pardalis, Esq.,

Plaintiff’s Memorandum of Law in Support of his Motion for Default Judgement against

Defendant EDIKAN EKANEM, and attached exhibits, and all prior papers and proceedings in this

case, the Plaintiff GIANNIS ANTETOKOUNMPO, by and through his undersigned attorneys,

PARDALIS & NOHAVICKA, LLP, move the Court, pursuant to Rule 55(b)(2) of the Federal

Rules of Civil Procedure and Rule 55.2 (b) of the Local Rules of the United States District Courts

for the Southern and Eastern Districts of New York, for judgement by default against Defendant

EDIKAN EKANEM.


Dated: New York, New York
       December 30, 2021                                PARDALIS & NOHAVICKA, LLP
                                           By:          _/s/ Anastasi Pardalis _____
                                                        Anastasi Pardalis
                                                        Attorneys for Plaintiff
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